This is an application to file petition for mandamus by L. H. Marshburn against J. H. Walker, Land Commissioner of Texas, as respondent, and Mealey Johnson, a feme sole, and certain other parties as co-respondents. The petition seeks to compel Walker, commissioner, to cancel an award of the land in question here to Mealey Johnson, and to approve relator's field notes, or have same corrected, if incorrect, and then approve same, and thereafter fix a minimum price as provided by law, in order that relator may proceed to exercise his preference right to purchase a mineral lease from the state to the tract of land in question here, which consists of 18.71 acres in Rusk county, Texas. The record in the case shows that patent to this land has issued from the State of Texas to Mealey Johnson. This patent is an absolute bar to any relief in this character of proceeding. Guenther v. Robison, 118 Tex. 485,32 S.W.2d 640, and authorities there cited.
The application to file petition for mandamus is refused.